Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 1 of 24


F .1 hag # 64379330 E-Filed 11/17/2047 10:35:15 PM


         IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT IN AND FOR MIAMI-DADE
                                    COUNTY,FLORIDA

                                       CASE NO. 2017-026537-CA-01


        VALENCIA BROWN,as Personal
        Representative ofthe Estate ofher
        deceased son; CORNELIUS VARNELL BROWN;and
        VALENCIA BROWN,as natural mother and
        survivor of Cornelius Brown; and
        VIRGIL FISHER, as natural father and survivor
        of Cornelius Brown

               Plaintiffs,
        vs.


        THE CITY OF OPA LOCKA;JAMES DOBSON,
        in his official capacity as ChiefofPolice ofthe
        Opa Locka Police Department; HANS GONZALEZ,
        DWAYNE RAMIKIE;ORLANDO BUENO a.k.a.
        ORLANDO MUNIZ-BUENO;LUDWIN VIELMAN;
        KERBY NORD,JOHN DOE and RICHARD ROE,
        police officers ofthe City ofOpa Loch at all times
        material hereto, the identity and number of which is
        presently unknown to the Plaintiffs,

              Defendants.


                      FIRST AMENDED COMPLAINT FOR WRONGFUL DEATH
                                 AND VIOLATION OF CIVIL.RIGHTS

              COME NOW,the Plaintiffs, VALENCIA BROWN, as Personal Representative of the

       Estate of her deceased son, CORNELIUS VARNELL BROWN;and VALENCIA BROWN,as

       natural mother and survivor of Cornelius Brown; and VIRGIL FISHER, as natural father and

       survivor of Cornelius Brown and hercby sue the Defendants, THE CITY OF OPA LOCKA ;

       JAMES DOBSON, in his official capacity as Chief of Police of the Opa Locka Police

       Department ("Chief"); HANS GONZALEZ("Gonzalez"); DWAYNE RAMIKIE ("Ramikie");




                                      EXHIBIT_
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 2 of 24




      ORLANDO BUENO a.k.a. ORLANDO MUNIZ-BUENO ("Buena"); LUDWIN VIELMAN

     ("Vielman"); KERBY NORD ("Nord"); and JOHN DOE and RICHARD ROE,police officers of

      the City of Opa Locka, the identity and number of which is presently unknown to the Plaintiffs

     ("Doe and Roe").



                                        PRELIMINARY STATEMENT

             1.        This is a civil rights action and wrongful death case in which the Plaintiffs seek

     relieffrom this Court for the death ofCornelius Brown and for the Defendants' violation of

     Ccrnelius Brown's civil rights secured by the Civil Rights Act of 1871, 42 USC § 1983,the

     Constitution of the United States, including its Fourth and Fourteenth Amendments, and by the

     laws ofthe State of Florida.

            2.        At all times herein,"Defendant Officers" shall refer to Defendants Gonzalez,

     Ramikie, Bueno, Vielman, Nord, Doe and Roe collectively, individually, or any combination of

     these Defendants acting together. All allegations against Defendant Officers are alleged jointly

     and severally.



                                        JURISDICTION AND VENUE

            3.        This is an action for damages in excess of Fifteen Thousand dollars ($15,000.00)

     arising from negligence resulting in the wrongful death of Cornelius Brown, a violation of the

     Fourth and Fourteenth Amendments to the United States Constitution pursuant to 42 U.S.C. §

     1983, and a claim for attorney's fees pursuant to 42 U.S.C. § 1988.

           4.         This Court has jurisdiction pursuant to Florida Statutes § 26.012, 34.01(c); and 28

     USC § 1343.



                                                                                                            2
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 3 of 24




              5.     Venue is appropriate in this Court pursuant to Florida Statutes § 47.011 in that the

      conduct that gives rise to this action took place in Miami Dade County, Florida.



                                                 PARTIES

             6.      At all times material hereto, Cornelius Brown, was an adult resident ofthe City of

      Opa Locka, Miami Dade County, a citizen ofthe State ofFlorida, and a citizen ofthe United

      States of America.

             7.     At all times material hereto. Cornelius Brown was a sufferer ofschizophrenia and

      paranoia.

             8.     Valencia Brown is the natural mother ofthe decedent, Cornelius Brown. She is

      the duly appointed Personal Representative ofthe Estate of Cornelius Brown.

            9.      Virgil Fisher is the natural father of Cornelius Brown.

             10.    At all times material hereto, Defendant City ofOpa Locka, was an entity

     authorized and created under the laws ofthe State of Florida. Defendant City ofOpa Locka

     assumes the risk incidental to the maintenance ofa police force and the employment oflaw

     enforcement and police officers.

            1 1.    At all times material hereto, Defendant City ofOpa Locka was the public

     employer of Defendant Officers.

            12.    At all times material hereto, Defendant Chief was the Chief ofPolice ofthe Opa

     Locka Police Department,

            13.    At all times material hereto, Defendant Officers were City ofOpa Locka Police

     Department police officers, acting within the course and scope of their employment with




                                                                                                     3
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 4 of 24




      Defendant City of Opa Locka and Defendant Chiefand under color ofstate or federal law.

      Defendant Officers are being sued in their individual and official capacities.

              14.    Defendant Officers were at all times relevant herein duly appointed and acting

      officers, servants, employees and agents of the Opa Locka Police Department, an agency of

      Defendant City of Opa Locka.

              15.    At all times relevant herein, Defendant Officers were acting under color of the

      laws, statutes, ordinances, regulations, policies, customs and/or usages ofthe State ofFlorida and

      the Opa Locka Police Department, in the course and scope of their duties and functions as

      officers, agents, servants, and employees of Defendant City of Opa Locka, were acting for, and

      on behalf of, and with the power and authority vested in them by Defendant City ofOpa Locke

      and the City of Opa Locka Police Department, and were otherwise performing and engaging in

     conduct incidental to the performance of their lawful functions in the course of their duties.

     Defendant Officers are sued individually and in their official capacity.

             16.    By the conduct, acts, and omissions complained of herein, Defendant Officers

     violated clearly established constitutional standards under the Fourth and Fourteenth

     Amendments to the United States Constitution of which a reasonable police officer under the

     circumstances would have known.

            17.     Plaintiffs have satisfied all conditions precedent to filing this lawsuit, including

     those imposed by Florida Statutes §768.28.

            18.     Plaintiffs have retained the services ofthe undersigned attorneys and are obligated

     to pay reasonable attorneys' fees and costs for such services in prosecuting the claims herein.




                                                                                                       4
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 5 of 24




                                FACTS APWCABLE TO ALL COUNTS

             19.    On or about November 18, 2015, Cornelius Brown was walking in the

      neighborhood where he resided when Defendant Officers confronted him

             20.    At the time that Defendant Officers confronted Cornelius Brown, he had not

      committed a crime or offense nor was he engaged in or planning to commit a crime or offense.

      Defendant Officers did not suspect that Cornelius Brown had committed a crime or offense when

      they approached him.

            21.     At the time that Cornelius Brown was engaged by Defendant Officers, Cornelius

     Brown was not acting in an aggressive or violent manner.

            22.     The residents ofthe neighborhood where Cornelius Brown resided knew that

     Cornelius Brown suffered from a mental condition.

            23.    Cornelius Brown was acting in a manner that indicated that he was suffering from

     a mental health breakdown or emergency. This behavior included failing to respond to questions

     and instructions, inappropriate and incoherent actions(such as singing and muttering), and an

     appearance ofgeneral confusion.

            24.    Defendant Officers knew or should have known that Cornelius Brown suffered

     from a mental condition.

            25.    Defendant Officers made visual contact with Cornelius Brown and observed the

     aforementioned abnormal behavior.

           26.     The observations ofDefendant Officers put them on notice that Cornelius Brown

     was suffering from a mental breakdown.

           27.     Defendant Officers ignored Cornelius Brown's mental breakdown and began to

     pursue him in a threatening manner.



                                                                                                     5
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 6 of 24




                28.    Defendant Officers knew that Cornelius Brown was suffering from a mental

      breakdown and took no precautions while approaching Cornelius Brown that would mitigate the

      effects of his mental illness.

                29.    When Defendant Officers yelled commands at Cornelius Brown, he manifested

      signs and symptoms that he was having a mental breakdown. Cornelius Brown was unable to

      communicate effectively, clearly did not understand what was going on, and was visibly scared.

             30,      Despite Cornelius Brown's apparent mental state, Defendant Officers continued

     to act aggressively and threateningly toward Cornelius Brown.

             31.      Cornelius Brown's mental condition prevented him from understanding or

     perceiving reality and his condition also inhibited his ability to consciously control his own

     actions.

             32.      Defendant Officers then began to pursue Cornelius Brown,further frightening and

     alarming him.

            33.       Defendant Officers fired approximately seven shots from their service firearms,

     hitting Cornelius Brown.

            34.       Cornelius Brown was pronounced dead at the scene. Multiple gunshot wounds

     fired by Defendant Officers caused his death.

            35.       After multiple requests, the Opa Locka Police Department has refused to provide

     any information regarding its investigation ofthe incident, the officers involved, witnesses or

     audio and video recordings ofthe incident.




                                                                                                        6
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 7 of 24




                                  COUNT I—DEFENDANT OFFICERS
                            CIVIL RIGHTS VIOLATION UNDER 42 U,S.C,41983
                                     UNREASONABLE SEIZURE

              36.     Plaintiffs re-allege paragraphs(I)through (35)as if fully set forth herein.

              37.     42 U.S.C. §1983 creates a cause ofaction where any person,"under color ofany

      statute, ordinance, regulation, custom, or usage, ofany State . . subjects, or causes to be

      subjected, any citizen ofthe United States ... the deprivation of any rights, privileges, or

      immunities secured by the Constitution and laws ..."

             38.      The Fourth Amendment to the United States Constitution prohibits unreasonable

      seizures of people.

             39.     A person has been seized within the meaning of the Fourth Amendment if, in

      view ofall the circumstances surrounding the incident, a reasonable person would have believed

      that he or she was not free to leave. The shooting and subsequent killing ofa suspect is a seizure

      under the Fourth Amendment.

             40.     At the time of the seizure, Defendant Officers did not have a reasonable belief

      that Plaintiff had committed a crime.

             41.     At the time of the seizure, Cornelius Brown was unarmed and did not pose a

     lethal threat to the officers.

             42.     At the time Defendant Officers seized Cornelius Brown, Defendants did not have

     a warrant to arrest Cornelius Brown.

            43.      Defendant Officers' arrest and seizure of Cornelius Brown was illegal and

     unconstitutional.

            44.      Any force used in an illegal seizure is excessive and is part ofthe claim for illegal

     seizure. See Jackson v. Santa, 206 F.3d 1156, 1171 (11th Cir. 2000).



                                                                                                        7
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 8 of 24




              45.      All the force used by Defendant Officers against Cornelius Brown was illegal and

      excessive.

              46.     Defendant Officers' conduct was deliberately indifferent to Cornelius Brown's

      clearly established rights.

              47.     As a direct, proximate and foreseeable result of the acts and omissions of

      Defendant Officers, Cornelius Brown was killed and the Plaintiffs have in the past and will have

      in the future suffered the following damages:

                   a. Medical, funeral, and burial expenses that have become a charge of his Estate or
                      that have been paid on behalfofthe decedent.

                   b. Loss of support and services, loss of companionship, and for mental pain and
                      suffering resulting from the loss of Cornelius Brown.

                   c. All damages allowable under 42 U.S.C.§ 1983, Federal Law,and Florida Law.

                 d. Loss of net accumulations ofthe Estate.

              WRFREFORE, Plaintiffs pray that this Honorable Court grant the following relief on

     Plaintiffs' civil right claim for unreasonable seizure brought pursuant to 42 U.S.C. §1983 and

     §1988:

                 A. Judgment for compensatory damages against Defendant Officers;

                B. Judgment for attorney's fees pursuant to 42 U.S.C. § 1988, together with the costs

                     and expenses ofthis civil action:

                C. A trial by jury on all issues so triable; and

                D. Such other and further relief that this Court may deem just, proper and

                     appropriate.
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 9 of 24




                                  COUNT II—DEFENDANT OFFICERS
                            CIVIL RIGHTS VIOLATION UNDER 42 U.S.C.61983
                                         EXCESSIVE FORCE

             48.        Plaintiffs re-allege paragraphs(1)through (35) as iffully set forth herein.

             49.       42 U.S.C. §1983 creates a cause ofaction where any person,"under color ofany

      statute,ordinance, regulation, custom, or usage,ofany State         subjects, or causes to be

      subjected, any citizen of the United States      the deprivation ofany rights, privileges, or

      immunities secured by the Constitution and law .."

             50.       The Fourth Amendment to the United States Constitution prohibits the

      unreasonable use offorce by a law enforcement officer when he has the lawful authority to seize

      an individual.

             51.       The use offorce by Defendant Officers was blatantly excessive and deprived

     Cornelius Brown of his Fourth Amendment right to be free from force that was excessive under

     the circumstances. Defendant Officers could have taken Cornelius Brown into custody without

     excessive or potentially deadly force and without causing Cornelius Brown injuries and,

     ultimately, death.

            52.        Defendant Officers' conduct was deliberately indifferent to Cornelius Brown's

     clearly established rights.

            53.        As a direct, proximate and foreseeable result ofthe acts and omissions of

     Defendant Officers, Cornelius Brown was killed and the Plaintiffs have in the past and will have

     in the future suffered the following damages:

                  a. Medical, funeral, and burial expenses that have become a charge ofhis Estate
                     and/or that have been paid on behalfofthe decedent.

                  b. Loss ofsupport and services, loss ofcompanionship, and for mental pain and
                     suffering resulting from the loss of Cornelius Brown.



                                                                                                       9
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 10 of 24




                   c. All damages allowable under 42 U.S.C. § 1983, Federal Law, and Florida Law.

                   d. Loss ofnet accumulations ofthe Estate.

               WHEREFORE,Plaintiffs pray that this Honorable Court grant the following reliefon

       Plaintiffs' civil right claim for excessive force brought pursuant to 42 U.S.C. §1983 and §1988:

                   A. Judgment for compensatory damages against Defendant Officers;

                   B. Judgment for attorney's fees pursuant to 42 U.S.C. §1988, together with the costs

                      and expenses ofthis civil action;

                   C. A trial byjury on all issues so triable; and

                   D. Such other and further relief that this Court may deem just, proper and

                      appropriate.



                                COUNT HI—DEFENDANT OFFICERS
                          CIVIL RIGHTS VIOLATION UNDER 42 U.S.C.41983
                                    FAILURE TO INTERVENE

             54.      Plaintiffs re-allege paragraphs(1)through (35) as if fully set forth herein.

             55.      Police officers ofthe Opa Loch police department violated Cornelius Brown's

      constitutional rights when they illegally seized Cornelius Brown and shocked him with a taser

      and then proceeded to shoot and kill him.

             56.     Instead of intervening, Defendant Officers took no action to stop or prevent this

      illegal seizure and excessive force although they were in a position to stop this escalation and

     had time to do so.

             57.     Defendant Officers are directly liable for the subsequent unreasonable

     applications offorce.

             58.     Defendant Officers' conduct was deliberately indifferent to Cornelius Brown's

     clearly established rights.

                                                                                                         10
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 11 of 24




               59.      As a direct, proximate and foreseeable result of the acts and omissions of

       Defendant Officers, Cornelius Brown was killed and the Plaintiffs have in the past and will have

       in the future suffered the following damages:

                   a. Medical, funeral, and burial expenses that have become a charge of his Estate
                      and/or that have been paid on behalfofthe decedent.

                   b. Loss ofsupport and services, loss ofcompanionship, and for mental pain and
                      suffering resulting from the loss of Cornelius Brown.

                   c. All damages allowable under 42 U.S.C. § 1983, Federal Law, and Florida Law.

                   d. Loss ofnet accumulations ofthe Estate.

               WHEREFORE,Plaintiffs pray that this Honorable Court grant the following relief on

      Plaintiffs' civil right claim for excessive force brought pursuant to 42 U.S.C. §1983 and §1988:

                   A. Judgment for compensatory damages against Defendant Officers;

                   B. Judgment for attorney's fees pursuant to 42 U.S.C. §1988, together with the costs

                      and expenses ofthis civil action;

                   C. A trial by jury on all issues so triable; and

                   D. Such other and further relief that this Court may deem just, proper and

                      appropriate.



                        COUNT IV—DEFENDANT CITY OF OPA LOCKA
                   STATE LAW CLAIM FOR NEGLIGENCE/WRONGFUL DEATH

         60.          Plaintiffs re-allege paragraphs(I)through (35)as if fully set forth herein.

         61.          At all times material hereto, each Defendant owed Cornelius Brown the duty to

      act with due care or reasonable care in the execution and enforcement of any right, law, or legal

     obligation.

         62.          These general duties ofreasonable care and due care owed to Cornelius Brown by


                                                                                                      II
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 12 of 24




       all Defendants include, but are not limited to, the following specific obligations:

                  a. To refrain from seizing, detaining, or arresting Cornelius Brown without first

                      having probable cause or legal authority to do so;

                  b. To refrain from using excessive and unreasonable force against Cornelius Brown;

                  c. To refrain from unreasonably creating the situation where force is used;

                  d. To refrain from abusing their authority granted them by law;

                 e. To use tactics and force appropriate for disabled and mentally disturbed person;

                     and

                 f. To refrain from violating Cornelius Brown's rights guaranteed by the United

                     States Constitution, as set forth above, and otherwise protected by law.

         63.         Defendant Officers, through their acts and omissions, breached each and every

      one ofthe aforementioned duties owed to Cornelius Brown.

         64.         As the negligent acts and omissions were committed in the course and scope of

      Defendant Officers' employment with Defendant City of Opa Locka, the doctrine of Respondeat

      Superior imputes liability to Defendant City ofOpa Locke.

         65.         As a direct and proximate result ofthe acts and omissions ofthe Defendants,

     Cornelius Brown was killed and the Plaintiffs have in the past and will have in the future

     suffered the following damages:

                a. Medical, funeral, and burial expenses that have become a charge of his Estate

                    and/or that have been paid on behalfofthe decedent.

                b. Loss ofsupport and services, loss of companionship, and for mental pain and

                    suffering resulting from the loss ofCornelius Brown.

                c. All damages allowable under 42 U.S.C. § 1983, Federal Law,and Florida Law.



                                                                                                     12
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 13 of 24




                     d. Loss of net accumulations of the Estate.

                    e. All damages allowed under Florida's Wrongful Death Act.

                WHEREFORE,the Plaintiffs demand judgment against Defendant City ofOpa

      Locka for damages, together with costs ofthis suit, and any other relief this Court deems proper,

      and demands a trial by jury on all issues so triable.


                              COUNT V—DEFENDANT OFFICERS
                     STATE LAW CLAIM FOR NEGLIGENCE/WRONGFUL DEATH

          66.           Plaintiffs re-allege paragraphs(1) through (35) as if fully set forth herein.

         67.            At all times material hereto, each Defendant owed Cornelius Brown the duty to

      act with due care or reasonable care in the execution and enforcement of any right, law, or legal

      obligation.

         68.           These general duties ofreasonable care and due care owed to Cornelius Brown by

      Defendant Officers include, but are not limited to, the following specific obligations:

                    a. To refrain from seizing, detaining, or arresting Cornelius Brown without first

                       having probable cause or legal authority to do so;

                  b. To refrain from using excessive and unreasonable force against Cornelius Brown;

                  c. To refrain from unreasonably creating the situation where force is used;

                 d. To refrain from abusing their authority granted them by law;

                 e. To use tactics and force appropriate for a disabled and mentally disturbed person;

                       and

                 f. To refrain from violating Cornelius Brown's rights guaranteed by the United

                      States Constitution, as set forth above, and otherwise protected by law.

        69.           Defendant Officers, through their acts and omissions, breached each and every

     one of the aforementioned duties owed to Cornelius Brown.

                                                                                                        13
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 14 of 24




          70.         As a direct and proximate result ofthe acts and omissions of the Defendants

       Officers, Cornelius Brown was killed and the Plaintiffs have in the past and will have in the

       future suffered the following damages:

                  a. Medical, funeral, and burial expenses that have become a charge of his Estate

                  and/or that have been paid on behalfofthe decedent.

                  b. Loss of support and services, loss of companionship, and for mental pain and

                  suffering resulting from the loss of Cornelius Brown.

                  c. All damages allowable under 42 U.S.C. § 1983, Federal Law,and Florida Law.

                  d. Loss of net accumulations ofthe Estate.

                  e. All damages allowed under Florida's Wrongful Death Act.

               WHEREFORE,the Plaintiffs demand judgment against Defendant Officers for

      damages, together with costs ofthis suit, and any other relief this Court deems proper, and

      demands a trial by jury on all issues so triable.


                           COUNT VI—DEFENDANT CITY OF OPA LOCKA
                                    § 1983 MONELL CLAIM
         71.         Plaintiffs re-allege paragraphs(1)through(35) as iffully set forth herein.

         72.         A local governing body may be liable for monetary damages under 42. U.S.C.

         §1983 if the unconstitutional act complained of is caused by a governmental practice or

         custom. Monell v. Dep't ofSoc. Services of City ofNew York, 436 U.S.658(1978).

         73.       Cornelius Brown was deprived ofat least the following federal rights guaranteed

         under the United States Constitution:

                 a. The right not to be deprived of life, liberty, or property without Due Process of

                    Law;



                                                                                                        14
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 15 of 24




                   b. The right to be free from unreasonable searches and/or seizures, up to and

                       including death;

                   c. The right to enjoy civil and statutory rights.

         74.           Defendant City ofOpa Locka developed and maintained policies, practices or

         customs exhibiting deliberate indifference to the constitutional rights of citizens it officers

         came into contact with.

         75.          It was the policy, practice or custom ofDefendant City ofOpa Locka to

         inadequately and improperly investigate citizen complaints ofpolice misconduct.

         76.          It was the policy, practice or custom ofDefendant City of Opa Locka to ignore,

         tolerate or inadequately discipline its officers when acts of misconduct occurred.

         77.          Prior to November 18, 2015, Defendant Officers had histories of misbehavior that

               were ignored, inadequately investigated or resulted in inadequate discipline.

         78.          Defendant City ofOpa Locka inadequately investigated or inadequately

         disciplined Defendant Officers, thereby failing to adequately discourage further misconduct.

         79.          Defendant City of Opa Loch tolerated and acquiesced to the excessive use of

        force by Defendant Officers.

        80.           Defendant Officers were not disciplined or reprimanded for violating Cornelius

        Brown's civil rights. Defendant City ofOpa Locka made no changes to its policies after the

        events of November 18, 2015, thereby ratifying Defendant Officers' conduct.

        81.          The policies, practices or customs ofDefendant City ofOpa Locka that tolerated

         or ignored excessive uses offorce on citizens that existed on November 18, 2015 did not

        change after November 18, 2015.

        82.          Because ofthe policy, practice or custom ofignoring, tolerating and improperly



                                                                                                       15
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 16 of 24




          handling complaints ofexcessive use offorce, Defendant Officers believed that their actions

          would not result in substantive investigation or discipline, but would be tolerated.

          83.          The above described policies, practices or customs demonstrate a deliberate

          indifference on the part of Defendant City of Opa Locka to the constitutional rights of

          persons its officers came into contact with, and were the cause of Cornelius Brown's

          deprivation ofhis constitutionally protected rights.


              WHEREFORE,Plaintiffs pray that this Honorable Court grant the following relief on

      Plaintiffs' civil right claim brought pursuant to Monell, 42 U.S.C. §1983 and §1988:

                  A. Judgment for compensatory damages against Defendant City ofOpa Locka;

                  B. Judgment for attorney's fees pursuant to 42 U.S.C. §I988,together with the costs

                      and expenses ofthis civil action;

                  C. A trial by jury on all issues so triable; and

                  D. Such other and further relief that this Court may deem just, proper and

                      appropriate.



                                COUNT VII—DEFENDANT CHIEF
                         CIVIL RIGHTS VIOLATION UNDER 42 U.S.C.&I983


        84.          Plaintiffs re-allege paragraphs(1)through (35) as if fully set forth herein.

        85.          The conduct and actions of Defendant Chief, acting under color of law, in

              authorizing, directing, training, or otherwise failing to promulgate reasonable policies and

              procedures among his officers for the use of force was excessive and unreasonable, was

              done intentionally, willfully, maliciously with a deliberate indifference or with a reckless

              disregard for the natural and probable consequences of his acts, was done without lawful


                                                                                                       16
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 17 of 24




                justification or reason, and was designed to and did cause specific and serious emotional

                pain, physical pain, and death in violation of Cornelius Brown's right under 42 U.S.C.

                §1983, and the Fourth and Fourteenth Amendments to the Constitution, including the

                right to be free from unreasonable search and seizure and the right to be free from the use

                ofexcessive, unreasonable, and unjustified force.

          86.          As a direct, proximate and foreseeable result of the acts and omissions of

                Defendant Chief, the Plaintiffs have suffered in the past and will suffer in the future the

                following damages:

                   a. Medical, funeral, and burial expenses that have become a charge of his Estate

                       and/or that have been paid on behalf of the decedent.

                   b. Loss of support and services, loss of companionship, and for mental pain and

                       suffering resulting from the loss ofCornelius Brown.

                   c. All damages allowable under 42 U.S.C. § 1983,Federal Law,and Florida Law.

                   d. Loss of net accumulations ofthe Estate.


            WHEREFORE, Plaintiffs pray that this Honorable Court grant the following relief on

      Plaintiffs' civil right claim for excessive force brought pursuant to 42 U.S.C. §1983 and §1988:

                   A. Judgment for compensatory damages against Defendant Chief;

                   B. Judgment for attorney's fees pursuant to 42 U.S.C. §1988, together with the costs

                      and expenses ofthis civil action;

                  C. A trial byjury on all issues so triable; and

                  D. Such other and further relief that this Court may deem just, proper and

                      appropriate.




                                                                                                       17
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 18 of 24




                                  COUNT VIII—DEFENDANT OFFICERS
                             CIVIL RIGHTS VIOLATION UNDER 42 U.S.C.61983
                                      DENIAL OF MEDICAL CARE

         87.             Plaintiffs re-allege paragraphs(1)through(35) as if finny set forth herein.

         88.             Members of the Opa Locka Police Department have an affirmative duty to seek

               medical attention, for persons who are injured in the course of being apprehended by the

               police.

         89.             Defendant Officers were either in the immediate vicinity of, or directly involved

               in shocking Cornelius Brown with a taser and shooting Cornelius Brown with a firearm.

        90.              Defendants Officers were aware that Cornelius Brown had been shocked with a

               taser and shot, and were aware that Cornelius Brown was experiencing extreme physical

              pain as a result of Defendant Officers' use ofexcessive and unnecessary force, but took

              no action to provide or request medical care for Cornelius Brown, disregarding the

              obvious risk to Cornelius Brown's health.

        91.              The conduct and actions of Defendant Officers, acting under color of law, in

              failing to timely request or obtain medical attention for Cornelius Brown, was

              unreasonable, was done intentionally, willfully, maliciously, with a deliberate

              indifference and/or with a reckless disregard for Cornelius Brown's serious medical

              needs, and was designed to and did cause specific and serious physical and emotional

              pain and suffering in violation ofCornelius Brown's substantive due process rights as

              guaranteed under 42 U.S.C. §1983, and the Fourteenth Amendment to the United States

              Constitution.

        92.          As a result ofDefendant Officers' failure to timely request or obtain medical

              attention after using excessive, unreasonable, and unjustified force, Cornelius Brown's



                                                                                                        18
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 19 of 24




                death was hastened and/or caused.

          93.          As a direct, proximate and foreseeable result ofthe acts and omissions of

                Defendants, Cornelius Brown was killed and the Plaintiffs have in the past and will have .

                in the future suffered the following damages:

                   a. Medical, funeral, and burial expenses that have become a charge of his Estate or
                      that have been paid on behalf of the decedent.

                   b. Loss of support and services, loss of companionship, and for mental pain and
                      suffering resulting from the loss of Cornelius Brown.

                   c. All damages allowable under 42 U.S.C. § 1983,Federal Law,and Florida Law.

                   d. Loss ofnet accumulations ofthe Estate.

               WHEREFORE, Plaintiffs pray that this Honorable Court grant the following relief on

      Plaintiffs' civil right claim for excessive force brought pursuant to 42 U.S.C. §1983 and §1988:

                   A. Judgment for compensatory damages against Defendant Officers;

                   B. Judgment for attorney's fees pursuant to 42 U.S.C. §1988, together with the costs

                       and expenses ofthis civil action;

                   C. A trial by jury on all issues so triable; and

                  D. Such other and further relief that this Court may deem just, proper and

                       appropriate.



                         COUNT IX—DEFENDANT CITY OF OPA LOCKA
                       NEGLIGENT HIRING.RETENTION AND SUPERVISION

         94.          Plaintiffs re-allege paragraphs(1)through (35)as iffully set forth herein.

         95.          Defendant Officers were under the control, direction and supervision of

               Defendant City ofOpa Locka.




                                                                                                      19
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 20 of 24




           96.           Defendant City ofOpa Locka knew or should have known that Defendant

                 Officers had engaged in wrongful conduct in the past.

           97.          Defendant City ofOpa Locka, at all times material hereto, had the ability and

                 authority to discharge, further supervise, and retrain Defendant Officers so that they did

                 not pose a risk to the public or Cornelius Brown.

          98.           As a direct result ofDefendant City ofOpa Locka's failure to further train,

                supervise, or discharge Defendant Officers, it was foreseeable that a member ofthe

                public, in this case Cornelius Brown, would be killed.

          99.           Defendant City ofOpa Locka's supervision, hiring, or retention of Defendant

              Officers constitutes negligence or gross negligence.

          100.          As a direct and proximate result of the acts and omissions of Defendant City of

              Opa Locka, Cornelius Brown was killed and the Plaintiffs have in the past and will in the

              future suffer the following damages:

                    a. Medical, funeral, and burial expenses that have become a charge of his Estate

                       and/or that have been paid on behalfofthe decedent.

                   b. Loss of support and services, loss of companionship, and for mental pain and

                       suffering resulting from the loss of Cornelius Brown.

                   c. All damages allowable under 42 U.S.C. § 1983,Federal Law, and Florida Law.

                   d. Loss of net accumulations ofthe Estate.

                   e. All damages allowed under Florida's Wrongful Death Act.

             WHEREFORE,the Plaintiffs demand judgment against Defendant City ofOpa

      Locka for damages, together with costs ofthis suit, and any other relief this Court deems proper,

      and demands a trial by jury on all issues so triable.



                                                                                                         20
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 21 of 24




                              COUNT X—DEFENDANT CHIEF
                      NEGLIGENT WRING,RETENTION AND SUPERVISION
         101.        Plaintiffs re-allege paragraphs(1)through (35)as iffully set forth herein.

         102.        Defendant Officers were under the control, direction and supervision of

            Defendant Chief.

         103.        Defendant Chiefknew or should have known that Defendant Officers had

            engaged in wrongful conduct in the past.

         104.        Defendant Chief at all times material hereto, had the ability and authority to

            discharge, further supervise, and retrain Defendant Officers so that they did not pose a

            risk to the public or Cornelius Brown.

         105.        As a direct result ofDefendant Chief's failure to further train, supervise, or

            discharge Defendant Officers, it was foreseeable that a member ofthe public, in this case

            Cornelius Brown, would be killed.

         106.       Defendant Chiefs supervision, hiring, or retention of Defendant Officers

           constitute negligence or gross negligence.

        107.        As a direct and proximate result of the acts and omissions ofDefendant Chief;

           Cornelius Brown was killed and the Plaintiffs have in the past and will in the future suffer

           the following damages:

                a. Medical,funeral, and burial expenses that have become a charge ofhis Estate •

                and/or that have been paid on behalf ofthe decedent.

                b. Loss ofsupport and services, loss ofcompanionship, and for mental pain and

                suffering resulting from the loss of Cornelius Brown.

                c. All damages allowable under 42 U.S.C. § 1983,Federal Law,and Florida Law.

                d. Loss ofnet accumulations ofthe Estate.


                                                                                                      21
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 22 of 24




                  e. All damages allowed under Florida's Wrongful Death Act.

               WHEREFORE,the Plaintiffs demand judgment against the Defendant Chieffor

      damages, together with costs ofthis suit, and any other reliefthis Court deems proper, and

      demands a trial by jury on all issues so triable.


                        COUNT XI—DEFENDANT OFFICERS
          STATE LAW CLAIM FOR BAD FAITH]MALICIOUS PURPOSE/WRONGFUL
                                    DEATH

         108.     Plaintiff re-alleges paragraphs(1) through (35)as if fully set forth herein.

         109.     At all times, Defendant Officers owed Cornelius Brown the duty to act with due care

             and reasonable care in the execution and enforcement ofany right, law, or legal

             obligation.

         110.     These general duties ofreasonable care and due care owed to Cornelius Brown by

             Defendant Officers include but are not limited to the following specific obligations:

                 a) To refrain from seizing, detaining, or arresting Cornelius Brown without first

                    having probable cause or legal authority to do so;

                 b) To refrain from using excessive and unreasonable force against Cornelius Brown;

                 c) To refrain from unreasonably creating the situation where force is used;

                 d) To refrain from abusing their authority granted them by law;

                 e) To use tactics and force appropriate for a disabled and mentally disturbed person,

                    and

                0 To refrain from violating Cornelius Brown's rights guaranteed by the United

                    States Constitutions, as set forth above, and as otherwise protected by law.

        111.     Defendant Officers, through their acts and omissions, breached each and every one

            ofthe aforementioned duties owed to Cornelius Brown.


                                                                                                     22
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 23 of 24




          112.        Defendant Officers acted towards Cornelius Brown in bad faith or with malicious

                 purpose or in a manner exhibiting wanton and willful disregard of human rights or safety.

          113.       As a direct, proximate and foreseeable result ofthe acts and omissions ofthe

                 Defendants, Cornelius Brown was killed and the Plaintiffs have in the past and will have

                 in the future suffered the following damages.

              a.     Medical, funeral, and burial expenses that have become a charge of his Estate or that
                     have been paid on behalf ofthe decedent.

              b. Loss ofsupport and services, loss ofcompanionship, and for mental pain and
                 suffering resulting from the loss of Cornelius Brown.

             c. All damages allowable under 42 U.S.C. § 1983, Federal Law, and Florida Law.

             d. Loss ofnet accumulations ofthe Estate.

             e.      All damages allowed under Florida's Wrongful Death Act.

             WHEREFORE,the Plaintiffs demand judgment against Defendant Officers for damages

      together with costs ofthis suit, and any other relief this Court deems proper, and demands a trial

      byjury on all issues so triable.

                                         DEMAND FOR JURY TRIAL

         1 14.         Plaintiffs hereby demand a trial by jury on all issues so triable.

                                    DEMAND FOR ATTORNEYS
                                                       'FEES

         1 15.          Plaintiffs hereby demand payment ofattorneys' fees pursuant to 42 U.S.C. § I983

             and 42 U.S.C. §1988.




                                [CERTIFICA IL OF SERVICE ON NEXT PAGE]




                                                                                                      23
Case 1:18-cv-20123-CMA Document 1-2 Entered on FLSD Docket 01/11/2018 Page 24 of 24




                                       fERTIFICATE OF SERVIC


              HEREBY CERTIFY that a true and correct copy of the foregoing is served with the
      original Complaint.



                                               Baisden & Perez, LLC
                                               Attorneys for Plaintiff
                                               400 N.Pine Island Road,Suite 200
                                               Plantation, FL 33324
                                               Telephone:(954) 749-0500

                                               By:     /s/RandellBaisden
                                                     RANDELL BAISDEN
                                                     FL BAR NO.: 920266




                                                                                                24
